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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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INTERNATIONAL CARGO LOSS
PREVENTION, INC.,

                                            Plaintiff,                     23-CV-10217 (JPO)

                          -against-                                             ORDER

HAPA LLOYD A.G.,

                                            Defendant.

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VALERIE FIGUEREDO, United States Magistrate Judge:

        A pre-settlement conference call in this matter is hereby scheduled for Wednesday, May

29, 2024 at 10:00 a.m. Counsel for the parties are directed to call Judge Figueredo’s AT&T

conference line at the scheduled time. Please dial (888) 808-6929; access code [9781335].

                  SO ORDERED.

DATED:           New York, New York
                 May 7, 2024

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                                                             VALERIE FIGUEREDO
                                                             United States Magistrate Judge
